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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001       03 MDL 1570 (GBD)(SN)


This document relates to:
Jessica DeRubbio, et al. v. Islamic Republic of Iran, No. 1:18-cv-05306 (GBD) (SN)
Horace Morris, et al. v. Islamic Republic of Iran, No. 1:18-cv-05321 (GBD) (SN)
Audrey Ades, et al. v. Islamic Republic of Iran, No. 1:18-cv-07306 (GBD) (SN)
Chang Don Kim, et al. v. Islamic Republic of Iran, No. 1:18-cv-11870 (GBD) (SN)
Alexander Jimenez, et al. v. Islamic Republic of Iran, No. 1:18-cv-11875 (GBD) (SN)
Cheryl Rivelli, et al. v. Islamic Republic of Iran, No. 1:18-cv-11878 (GBD) (SN)
Gordon Aamoth, Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-12276 (GBD) (SN)
Marinella Hemenway, et al. v. Islamic Republic of Iran, No. 1:18-cv-12277 (GBD) (SN)
August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD) (SN)
Ber Barry Aron, et al. v. Islamic Republic of Iran, No. 1:20-cv-09376 (GBD) (SN)
Jeanmarie Hargrave, et al. v. Islamic Republic of Iran, No. 1:20-cv-09387 (GBD) (SN)
Paul Asaro, et al. v. Islamic Republic of Iran, No. 1:20-cv-10460 (GBD) (SN)
Michael Bianco, et al. v. Islamic Republic of Iran, No. 1:20-cv-10902 (GBD) (SN)
Nicole Amato, et al. v. Islamic Republic of Iran, No. 1:21-cv-10239 (GBD) (SN)
Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)

      [PROPOSED] ORDER OF PARTIAL FINAL JUDGMENTS IN THE ABOVE-
     CAPTIONED MATTERS FOR LIABILITY FOR KING PLAINTIFFS AND FOR
     DAMAGES ON BEHALF OF THE PLAINTIFFS IDENTIFIED IN EXHIBITS A,
                      EXHIBITS B, AND EXHIBIT G

        Upon consideration of the evidence and arguments submitted by Plaintiffs identified in

Exhibits A-1 to A-7 (collectively, “Exhibits A”), Exhibits B-1 to B-12 (collectively, “Exhibits

B”), and Exhibit G (the plaintiffs in Exhibit G are the “Personal Injury Plaintiffs”) to this Order

through their Motion for Partial Final Judgment against the Defendant Islamic Republic of Iran

(“Iran”), as to liability for all Plaintiffs named in Susan M. King, et al. v. Islamic Republic of

Iran, No. 1:22-cv-05193 (GBD) (SN), and as to damages for certain Plaintiffs in the above-

captioned matters who are each a spouse, parent, child, or sibling (or the estate of a spouse,

parent, child, or sibling) of a victim killed in the terrorist attacks on September 11, 2001, as

specifically identified in attached Exhibits A, or who are each an estate of an individual who was


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killed in the terrorist attacks on September 11, 2001, as specifically identified in the attached

Exhibits B, or who are each an individual injured in the terrorist attacks on September 11, 2001,

as specifically identified in the attached Exhibit G, and the judgment by default for liability

against Iran entered as follows:

CASE NAME                    CASE NO.              DATE MOTION              ECF NO. OF MOTION
                                                   FOR LIABILITY            FOR LIABILITY THAT
                                                   WAS GRANTED              WAS GRANTED

Jessica DeRubbio, et al.     No. 1:18-cv-05306     05/28/2019               ECF No. 4563
v. Islamic Republic of       (GBD) (SN)
Iran
Horace Morris, et al. v.     No. 1:18-cv-05321     06/21/2019               ECF No. 4595
Islamic Republic of Iran     (GBD) (SN)

Audrey Ades, et al. v.       No. 1:18-cv-07306     06/21/2019               ECF No. 4594
Islamic Republic of Iran     (GBD) (SN)

Chang Don Kim, et al. v. No. 1:18-cv-11870         09/03/2019               ECF No. 5049
Islamic Republic of Iran (GBD) (SN)

Alexander Jimenez, et        No. 1:18-cv-11875     09/03/2019               ECF No. 5056
al. v. Islamic Republic of   (GBD) (SN)
Iran
Cheryl Rivelli, et al. v.    No. 1:18-cv-11878     09/03/2019               ECF No. 5047
Islamic Republic of Iran     (GBD) (SN)

Gordon Aamoth, Sr., et       No. 1:18-cv-12276     09/03/2019               ECF No. 5050
al. v. Islamic Republic of   (GBD) (SN)
Iran
Marinella Hemenway, et       No. 1:18-cv-12277     09/03/2019               ECF No. 5054
al. v. Islamic Republic of   (GBD) (SN)
Iran
August Bernaerts, et al.     No. 1:19-cv-11865     01/04/2022               ECF No. 7522
v. Islamic Republic of       (GBD) (SN)
Iran
Ber Barry Aron, et al. v.    No. 1:20-cv-09376     01/04/2022               ECF No. 7522
Islamic Republic of Iran     (GBD) (SN)

Jeanmarie Hargrave, et No. 1:20-cv-09387           01/04/2022               ECF No. 7522
al. v. Islamic Republic of (GBD) (SN)
Iran

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Paul Asaro, et al. v.        No. 1:20-cv-10460      01/04/2022                ECF No. 7522
Islamic Republic of Iran     (GBD) (SN)

Michael Bianco, et al. v.    No. 1:20-cv-10902      01/04/2022                ECF No. 7522
Islamic Republic of Iran     (GBD) (SN)

Nicole Amato, et al. v.      No. 1:21-cv-10239      04/03/2023                ECF No. 8978
Islamic Republic of Iran     (GBD) (SN)

; together with the entire record in this case, it is hereby:

        ORDERED that service of process was properly effected upon Iran in accordance with

28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b) for agencies and

instrumentalities of sovereign defendants; 1 and it is further

        ORDERED that the motion for judgment by default against Iran on behalf of the

Plaintiffs in the above-captioned matters is GRANTED and judgments as to liability are entered

in favor of all plaintiffs against Iran in the following cases:

CASE NAME                                                CASE NUMBER

Susan M. King, et al. v. Islamic Republic of Iran No. 1:22-cv-05193 (GBD) (SN)

; and it is further

        ORDERED that partial final judgment is entered against Iran on behalf of those

Plaintiffs in the above-captioned matters who are identified in the attached Exhibits A who are

each a spouse, parent, child or sibling (or the estate of a spouse, parent, child, or sibling), or the

functional equivalent thereof, of individuals killed in the terrorist attacks on September 11, 2001,

as indicated in Exhibits A; and it is further




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  This only applies for the plaintiffs in this motion in the above-referenced 2018 matters, and for
all plaintiffs in Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD)
(SN).

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        ORDERED that Plaintiffs identified in Exhibits A are awarded solatium damages of

$12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling,

as set forth in Exhibits A; and it is further

        ORDERED that partial final judgment is entered against Iran on behalf of the Plaintiffs

in the above-captioned matters, as identified in the attached Exhibits B, who are each the estate

of a victim of the terrorist attacks on September 11, 2001, as indicated in the attached Exhibits B;

and it is further

        ORDERED that Plaintiffs identified in the attached Exhibits B are awarded

compensatory damages for decedents’ pain and suffering in an amount of $2,000,000 per estate,

as set forth in the attached Exhibits B; and it is further

        ORDERED that partial final judgment is entered against Iran on behalf of the personal

injury plaintiffs in the above-captioned matter who are identified in the attached Exhibit G who

are each an individual injured in the terrorist attacks on September 11, 2001, as indicated in

Exhibit G; and it is further

        ORDERED that the Personal Injury Plaintiffs identified in Exhibit G are awarded a

compensatory damages judgment against Iran for pain and suffering commensurate with the

injuries sustained during the September 11, 2001 terrorist attacks, in accordance with prior

precedent in the U.S. District Court for the District of Columbia in similar cases (and factoring in

an upward departure on damages values based on the indelible impact of the September 11, 2001

terrorist attacks), as set forth in Exhibit G; and it is further

        ORDERED that Plaintiffs identified in the expert reports submitted in support of the

Declaration of Jerry S. Goldman, Esq. (“Goldman Declaration”) (and identified in Exhibits B

and Exhibit G), are awarded economic damages as set forth in the attached Exhibits B and



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Exhibit G and as supported by the expert reports and analyses tendered in conjunction with the

Goldman Declaration; and it is further

         ORDERED that Plaintiffs identified in Exhibits A, Exhibits B, and Exhibit G are

awarded prejudgment interest of 4.96 percent per annum, compounded annually, running from

September 11, 2001 until the date of judgment; and it is further

         ORDERED that Plaintiffs identified in Exhibits A, Exhibits B, and Exhibit G may

submit an application for punitive damages, economic damages, or other damages (to the extent

such awards have not previously been ordered) at a later date consistent with any future rulings

made by this Court on this issue; and it is further

         ORDERED that the remaining Plaintiffs in the above-captioned matters not appearing in

Exhibits A, Exhibits B, and Exhibit G may submit in later stages applications for damages

awards, and to the extent such plaintiffs are similarly situated to those appearing in Exhibits A,

Exhibits B, and Exhibit G, the applications will be approved consistent with those approved

herein for the Plaintiffs appearing in Exhibits A, Exhibits B, and Exhibit G.

         Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9097.

                                                 SO ORDERED:



                                                 GEORGE B. DANIELS
                                                 United States District Judge
Dated:    New York, New York
          _____________, 2023




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